         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 1 of 14




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

BAC LOCAL UNION 15 WELFARE    )
FUND, et al.,                 )
                              )
            Plaintiffs,       )
                              ) CIVIL ACTION NO. 2:16-cv-02242-CM-GEB
            v.                )
                              )
WILLIAMS RESTORATION COMPANY, )
INC. and FOX HOLDINGS, INC.,  )
                              )
            Defendants.
                              )


                                        PROTECTIVE ORDER

           The parties agree that during the course of discovery it may be necessary to disclose

certain confidential information relating to the subject matter of this action. They agree that

certain categories of such information should be treated as confidential, protected from

disclosure outside this litigation, and used only for purposes of prosecuting or defending this

action and any appeals. The parties further agree that certain categories of information should be

treated as highly confidential and be permitted to be viewed only by the attorneys to this

litigation, their staff, and any third party consultant or expert retained to assist the attorneys in

this litigation, but not to the non-disclosing parties themselves. The parties jointly request entry

of this proposed Protective Order to limit the disclosure, dissemination, and use of certain

identified categories of confidential and highly confidential information.

           The parties assert in support of their request that protection of the identified categories of

confidential information is necessary because discovery in this action will require disclosure of

documents that are relevant to the claims and defenses asserted and it is likely that such

documents will contain personal information, financial information and/or proprietary or trade
{00326567;B15-163;BJS }
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 2 of 14




secret information of the parties, some of which the parties desire to keep confidential from one

another for purposes of protecting and ensuring fair competition and to avoid the risk of

harassment or other misuse of highly confidential information.

           For good cause shown under Fed. R. Civ. P. 26(c), the court grants the parties’ joint

request and hereby enters the following Protective Order:

           1.             Scope. All documents and materials produced in the course of discovery of this

case, including initial disclosures, responses to discovery requests, all deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collectively “documents”), are

subject to this Order concerning Confidential Information or Highly Confidential Information as

set forth below. As there is a presumption in favor of open and public judicial proceedings in the

federal courts, this Order will be strictly construed in favor of public disclosure and open

proceedings wherever possible.

           2.             Definition of Confidential Information and Highly Confidential Information.

As used in this Order, “Confidential Information” is defined as information that the producing

party designates in good faith has been previously maintained in a confidential manner and

should be protected from disclosure and use outside the litigation because its disclosure and use

is restricted by statute or could potentially cause harm to the interests of disclosing party or

nonparties. For purposes of this Order, the parties will limit their designation of “Confidential

Information” to the following categories of information or documents: personnel files, tax

returns, financial statements and records, proprietary or confidential business records, and trade

secrets. Information or documents that are available to the public may not be designated as

Confidential Information.


{00326567;B15-163;BJS }
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 3 of 14




           As used in this Order, “Highly Confidential Information” is defined as information that

the producing party designates in good faith has been previously maintained in a highly

confidential manner and should be protected from disclosure to the non-disclosing parties

themselves and from use outside the litigation because its disclosure and use is restricted by

statute or could potentially cause harm to the interests of disclosing party or nonparties,

particularly with regard to the potential for its use or misuse by the non-disclosing parties

themselves, including but not limited to use of such information for unfair business competition

or for purposes of harassment. For purposes of this Order, the parties will limit their designation

of “Highly Confidential Information” to the following categories of information or documents:

financial statements and records, proprietary or confidential business records, and trade secrets.

Information or documents that are available to the public may not be designated as Highly

Confidential Information.

           3.             Form and Timing of Designation.   The producing party may designate

documents as containing Confidential Information and therefore subject to protection under this

Order by marking or placing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” (hereinafter “the marking”) or as containing Highly Confidential Information and

therefore subject to protection under this Order by marking or placing the words “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER”

(hereinafter “the marking”) on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

marking will be applied prior to or at the time the documents are produced or disclosed.

{00326567;B15-163;BJS }

                                                   3
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 4 of 14




Applying the marking to a document does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Order. Copies

that are made of any designated documents must also bear the marking, except that indices,

electronic databases, or lists of documents that do not contain substantial portions or images of

the text of marked documents and do not otherwise disclose the substance of the Confidential

Information or Highly Confidential Information are not required to be marked. If a document,

record, or electronic file or other data to be produced is not capable of being “marked,” a party

may designate the document as Confidential Information or Highly Confidential Information and

including within the electronic file name the “marking,” or if that is not possible, by writing to

counsel of the receiving parties, which identifies with particularity which documents, records,

files, or other data is marked as Confidential Information or Highly Confidential Information. By

marking a designated document as confidential, the designating attorney or party appearing pro

se thereby certifies that the document contains Confidential Information as defined in this Order.

           4.             Inadvertent Failure to Designate. Inadvertent failure to designate any document

or material as containing Confidential Information or Highly Confidential will not constitute a

waiver of an otherwise valid claim of confidentiality pursuant to this Order, so long as a claim of

confidentiality is asserted within thirty (30) days after discovery of the inadvertent failure.

           5.             Depositions. Deposition testimony will be deemed confidential only if designated

as such when the deposition is taken or within a reasonable time period after receipt of the

deposition transcript. Such designation must be specific as to the portions of the transcript

and/or any exhibits to be protected.

           6.             Protection of Confidential Material.

{00326567;B15-163;BJS }

                                                          4
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 5 of 14




                          (a)   General Protections.     Designated Confidential Information or Highly

Confidential Information must be used or disclosed solely for purposes of prosecuting or

defending this lawsuit, including any appeals.

                          (b)   Who May View Designated Confidential Information. Except with the

prior written consent of the designating party or prior order of the court, designated Confidential

Information may only be disclosed to the following persons:

                          (1)   The parties to this litigation, including any employees, agents, and
                                representatives of the parties;

                          (2)   Counsel for the parties and employees and agents of counsel;

                          (3)   The court and court personnel, including any special master
                                appointed by the court, and members of the jury;

                          (4)   Court reporters, recorders, and videographers engaged for deposi-
                                tions;

                          (5)   Any mediator appointed by the court or jointly selected by the
                                parties;

                          (6)   Any expert witness, outside consultant, or investigator retained
                                specifically in connection with this litigation, but only after such
                                persons have completed the certification contained in Attachment
                                A, Acknowledgment and Agreement to be Bound;

                          (7)   Any potential, anticipated, or actual fact witness and his or her
                                counsel, but only to the extent such confidential documents or
                                information will assist the witness in recalling, relating, or
                                explaining facts or in testifying, and only after such persons have
                                completed the certification contained in Attachment A;

                          (8)   The author or recipient of the document (not including a person
                                who received the document in the course of the litigation);

                          (9)   Independent providers of document reproduction, electronic
                                discovery, or other litigation services retained or employed
                                specifically in connection with this litigation; and

{00326567;B15-163;BJS }

                                                         5
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 6 of 14




                          (10)   Other persons only upon consent of the producing party and on
                                 such conditions as the parties may agree.

                          (c)    Who May View Designated Highly Confidential Information. Except

with the prior written consent of the designating party or prior order of the court, designated

Highly Confidential Information may only be disclosed to the following persons:

                          (1)    Counsel for the parties and employees and agents of counsel;

                          (2)    The court and court personnel, including any special master
                                 appointed by the court, and members of the jury;

                          (3)    Court reporters, recorders, and videographers engaged for deposi-
                                 tions;

                          (4)    Any mediator appointed by the court or jointly selected by the
                                 parties;

                          (5)    Any expert witness, outside consultant, or investigator retained
                                 specifically in connection with this litigation, but only after such
                                 persons have completed the certification contained in Attachment
                                 A, Acknowledgment and Agreement to be Bound;

                          (6)    Any potential, anticipated, or actual fact witness and his or her
                                 counsel, but only to the extent such confidential documents or
                                 information will assist the witness in recalling, relating, or
                                 explaining facts or in testifying, and only after such persons have
                                 completed the certification contained in Attachment A;

                          (7)    The author or recipient of the document (not including a person
                                 who received the document in the course of the litigation);

                          (8)    Independent providers of document reproduction, electronic
                                 discovery, or other litigation services retained or employed
                                 specifically in connection with this litigation; and

                          (9)    Other persons only upon consent of the producing party and on
                                 such conditions as the parties may agree.




{00326567;B15-163;BJS }

                                                          6
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 7 of 14




                          (d)   Control of Documents.       The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing

Confidential Information and Highly Confidential Information pursuant to the terms of this

Order. Counsel for the parties must maintain a record of those persons, including employees of

counsel, who have reviewed or been given access to the documents along with the originals of

the forms signed by those persons acknowledging their obligations under this Order.

           7.             Filing of Confidential Information. In the event a party seeks to file any

document containing Confidential Information or Highly Confidential Information subject to

protection under this Order with the court, that party must take appropriate action to insure that

the document receives proper protection from public disclosure including: (a) filing a redacted

document with the consent of the party who designated the document as confidential; (b) where

appropriate (e.g., in relation to discovery and evidentiary motions), submitting the document

solely for in camera review; or (c) when the preceding measures are inadequate, seeking

permission to file the document under seal by filing a motion for leave to file under seal in

accordance with D. Kan. Rule 5.4.6.

           Nothing in this Order will be construed as a prior directive to allow any document to be

filed under seal. The parties understand that the requested documents may be filed under seal

only with the permission of the court after proper motion. If the motion is granted and the

requesting party permitted to file the requested documents under seal, only counsel of record and

unrepresented parties will have access to the sealed documents. Pro hac vice attorneys must

obtain sealed documents from local counsel.



{00326567;B15-163;BJS }

                                                        7
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 8 of 14




           8.             Challenges to a Confidential Designation. The designation of any material or

document as Confidential Information or Highly Confidential Information is subject to challenge

by any party. Before filing any motion or objection to a confidential designation, the objecting

party must meet and confer in good faith to resolve the objection informally without judicial

intervention. A party that elects to challenge a confidentiality designation may file and serve a

motion that identifies the challenged material and sets forth in detail the basis for the challenge.

The burden of proving the necessity of a confidentiality designation remains with the party

asserting confidentiality. Until the court rules on the challenge, all parties must continue to treat

the materials as Confidential Information under the terms of this Order.

           9.             Use of Confidential Documents or Information at Trial or Hearing. Nothing

in this Order will be construed to affect the use of any document, material, or information at any

trial or hearing. A party that intends to present or that anticipates that another party may present

Confidential Information or Highly Confidential Information at a hearing or trial must bring that

issue to the attention of the court and the other parties without disclosing the Confidential

Information. The court may thereafter make such orders as are necessary to govern the use of

such documents or information at the hearing or trial.

           10.            Obligations on Conclusion of Litigation.

                          (a)    Order Remains in Effect.      Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion of the

litigation.

                          (b)    Return of Confidential Documents. Within sixty (60) days after this

litigation concludes by settlement, final judgment, or final order, including all appeals, all

{00326567;B15-163;BJS }

                                                         8
         Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 9 of 14




documents designated as containing Confidential Information, including copies as defined above,

must be returned to the party who previously produced the document unless: (1) the document

has been offered into evidence or filed without restriction as to disclosure; (2) the parties agree to

destruction of the document to the extent practicable in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that party

elects to destroy the documents and certifies to the producing party that it has done so.

           The parties further agree that the receiving party is not required to locate, isolate and

return e-mails (including attachments to e-mails) that may include Confidential Information, or

Confidential Information contained in deposition transcripts or drafts or final expert reports.

                          (c)   Retention of Work Product. Notwithstanding the above requirements to

return or destroy documents, counsel may retain attorney work product, including an index

which refers or relates to designated Confidential Information, so long as that work product does

not duplicate verbatim substantial portions of the text or images of designated documents. This

work product will continue to be confidential under this Order. An attorney may use his or her

own work product in subsequent litigation provided that its use does not disclose Confidential

Information.

           11.            Order Subject to Modification. This Order is subject to modification by the

court on its own motion or on motion of any party or any other person with standing concerning

the subject matter. The Order must not, however, be modified until the parties have been given

notice and an opportunity to be heard on the proposed modification.

           12.            No Prior Judicial Determination.      This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

{00326567;B15-163;BJS }

                                                        9
        Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 10 of 14




Nothing in this Order will be construed or presented as a judicial determination that any

document or material designated as Confidential Information by counsel or the parties is entitled

to protection under Fed. R. Civ. P. 26(c) or otherwise until such time as the court may rule on a

specific document or issue.

           13.            Persons Bound by Protective Order. This Order will take effect when entered

and is binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.

           14.            Jurisdiction. The court’s jurisdiction to enforce the provisions of this Order will

terminate on the final disposition of this case. But a party may file a motion to seek leave to

reopen the case to enforce the provisions of this Order.

           15.            Applicability to Parties Later Joined. If additional persons or entities become

parties to this lawsuit, they must not be given access to any Confidential Information until they

execute and file with the court their written agreement to be bound by the provisions of this

Order.

           16.            Protections Extended to Third-Party’s Confidential Information. The parties

agree to extend the provisions of this Protective Order to Confidential Information produced in

this case by third parties, if timely requested by the third party.

           17.            Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,



{00326567;B15-163;BJS }

                                                          10
        Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 11 of 14




immediately and in no event more than three business days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

           The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order. In addition, the receiving party must deliver a

copy of this Order promptly to the party in the other action that caused the subpoena to issue.

           The purpose of imposing these duties is to alert the interested persons to the existence of

this Order and to afford the designating party in this case an opportunity to try to protect its

Confidential Information in the court from which the subpoena or order issued. The designating

party bears the burden and the expense of seeking protection in that court of its Confidential

Information, and nothing in these provisions should be construed as authorizing or encouraging a

receiving party in this action to disobey a lawful directive from another court. The obligations

set forth in this paragraph remain in effect while the party has in its possession, custody, or

control Confidential Information designated by the other party to this case.

           18.            Inadvertent Disclosure of Confidential Information Covered by Attorney-

Client Privilege or Work Product.                 The inadvertent disclosure or production of any

information or document that is subject to an objection on the basis of attorney-client privilege or

work-product protection, including, but not limited, to information or documents that may be

considered Confidential Information or Highly Confidential Information under the Protective

Order, will not be deemed to waive a party’s claim to its privileged or protected nature or estop

that party or the privilege holder from designating the information or document as attorney-client

privileged or subject to the work product doctrine at a later date. Any party receiving any such

{00326567;B15-163;BJS }

                                                      11
        Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 12 of 14




information or document must return it upon request to the producing party. Upon receiving such

a request as to specific information or documents, the receiving party must return the information

or documents to the producing party within five (5) business days, regardless of whether the

receiving party agrees with the claim of privilege and/or work-product protection. Disclosure of

the information or document by the other party prior to such later designation will not be deemed

a violation of the provisions of this Order. The provisions of this section constitute an order

pursuant to Rules 502(d) and(e) of the Federal Rules of Evidence.

           IT IS SO ORDERED.

           Dated: October 2, 2017
                                             S/ Gwynne E. Birzer___
                                             U.S. Magistrate Judge


WE SO MOVE and agree to abide by the terms of this Order

Dated September ___, 2017

Counsel for Williams Restoration, Inc.            Counsel for the Plaintiffs

By: David A. Yudelson                             By: Bradley J. Sollars
Mr. Gregory M. Bentz (gbentz@polsinelli)          Mr. Michael G. Newbold
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{00326567;B15-163;BJS }

                                               12
        Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 13 of 14




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4821-3409-4416.1




{00326567;B15-163;BJS }              13
        Case 2:16-cv-02242-KHV-GEB Document 59 Filed 10/03/17 Page 14 of 14




                                           ATTACHMENT A

                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

BAC LOCAL UNION 15 WELFARE    )
FUND, et al.,                 )
                              )
            Plaintiffs,       )
                              )                          CIVIL ACTION NO. 2:16-cv-02242-CM-
            v.                )                                        GEB
                              )
WILLIAMS RESTORATION COMPANY, )
INC. and FOX HOLDINGS, INC.,  )
                              )
            Defendants.
                              )

                          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

           The undersigned hereby acknowledges that he/she has read the Protective Order dated

_______________ in the above-captioned case, attached hereto, understands the terms thereof, and agrees

to be bound by its terms. The undersigned submits to the jurisdiction of the United States District Court

for the District of Kansas in matters relating to this Protective Order and understands that the terms of the

Protective Order obligate him/her to use materials designated as Confidential Information and/or Highly

Confidential Information in accordance with the order solely for the purposes of the above-captioned

action, and not to disclose any such Confidential Information and/or Highly Confidential Information to

any other person, firm, or concern, except in accordance with the provisions of the Protective Order.

           The undersigned acknowledges that violation of the Protective Order may result in penalties for

contempt of court.

Name:                              ______________________________________

Job Title:                         ______________________________________

Employer:                          ______________________________________

Business Address:                 ______________________________________

Date: _________________            ______________________________________
                                          Signature



{00326567;B15-163;BJS }                          14
